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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA

RENDER GODFREY, Individually,                )
and d/b/a Superior Flooring of GA, Inc.      )         Civil Action
                                             )
      Plaintiff,                             )         File No.:
                                             )
vs.                                          )
                                             )
WELLS FARGO BANK, NA.                        )
                                             )
      Defendant.                             )

                                   COMPLAINT

      NOW COMES Plaintiff, RENDER GODFREY, individually and d/b/a

Superior Flooring of Georgia, Inc (hereinafter referred to as Render Godfrey) by and

through his counsel of record, and for the reasons stated below, files the instant

lawsuit against Defendant WELLS FARGO BANK, NA., for Defendant’s egregious

and racially charged conduct, and in support thereof, respectfully shows this Court

as follows:

                          NATURE OF THE ACTION

                                            1.

      This action is brought by Plaintiff Render Godfrey, individually and dba

Superior Flooring of Georgia, Inc. (African American) against Defendant Wells




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Fargo Bank, NA., to provide appropriate relief to Plaintiff for the egregious and

unlawful racial discrimination he encountered at Defendant Wells Fargo Bank,

NA.,’s branch located at 2 Amlajack Blvd, Newnan, GA 30263 on January 19, 2022,

through January 28, 2022.

                                             2.

      Ms. Godfrey owned a flooring business and had a commercial banking

account with Wells Fargo Bank, NA., in Newnan, GA.

                                             3.

      On the day in question, Plaintiff visited Defendant Wells Fargo Bank, NA.,

regarding his account ending in number 3845 because he was not able to make

transactions. Upon his arrival Plaintiff was told that his account was closed and that

he needed to reopen the account. As Plaintiff attempted to reopen the account

number ending in 3845, Defendant, Wells Fargo Bank, NA.’s denied Plaintiff’s

reopening of his account number ending in 3845. The bank’s employees, based on

racial animus and discriminatory intent, immediately instigated a racially hostile

attitude toward him. As a result of the racially hostile attitude, the bank employees

immediately called into question Plaintiff’s motives and ability in wanting to reopen

his account, while falsely accusing Plaintiff of fraudulent action and ultimately,




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refusing to reopen Plaintiff’s account ending in 3845. Defendant Wells Fargo Bank,

NA.’s employees that were fueled by its unlawful racial animus and discriminatory

intent toward Plaintiff. Plaintiff Godfrey is quite familiar with racial discrimination

acts and hostile attitudes because he is a large Black male who has an intimidating

appearance to some people.

                                          4.

      During Plaintiff Godfrey’s the interactions at the bank with a Caucasian Wells

Fargo Bank, NA’s employee, told Mr. Godfrey his account was overdrawn several

times and there had been no activity on the account for a while, which is the reason

it was closed and could not be reopened. Mr. Godfrey told the bank’s employee that

was incorrect because he had placed money in the account days ago. Mr. Godfrey

stated to the employee that there is nothing wrong with his credit and he had been a

customer for some time. Mr. Godfrey felt that he was being treated differently

because of his race and his appearance began recording the bank’s employees and

their interactions with him. Plaintiff Godfrey felt that the employees were laughing

and making smart remarks about him. Mr. Godfrey felt that because of the color of

his skin the Wells Fargo Bank, NA.’s employees did not want to deal with him as a

customer. Mr. Godfrey was abruptly transferred to a manager. The manager shifted




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the conversation from Mr. Godfrey’s concern about his account to telling Mr.

Godfrey that he could not record the conversation. Mr. Godfrey stated that there are

no signs or warnings to not record his encounter with them. Mr. Godfrey wanted an

explanation why he could not use his account and why he needed to reopen his

account as if he was a new customer. Mr. Godfrey was told to make another

appointment for another day because he did not have all of his paperwork to open

an account. The next day, Mr. Godfrey returned to Wells Fargo Bank, NA. and was

told he had to open a new account and that he was not allowed to reopen his previous

account. Mr. Godfrey questioned the employees on why he could not reopen the

same account because it showed itself to be open. Furthermore, Mr. Godfrey stated

that he had money in the account ending in 3845, which was active. Thereafter, Mr.

Godfrey received a phone call from Wells Fargo’s security and was harassed and

threatened not to return to the bank. On January 28, 2022, the Defendant returned

the money Mr. Godfrey had in his account ending in 3845.

                        JURISDICTION AND PARTIES

                                         5.

      This is an action by Plaintiff Render Godfrey and d/b/a Superior Flooring for

racial discrimination, violations of the U.S. Constitution, and unlawful banking




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practices that contravene the Civil Rights Act of 1866, 42 U.S.C. § 1981 (as

amended), as well as various other laws and regulations.

                                            6.

      Plaintiff Render Godfrey is a resident of the State of Georgia.

                                            7.

       Defendant Wells Fargo, NA is a foreign corporation doing business in this

state and may be served by its Registered Agent: Corporation Service Company, 2

Sun Court, Suite 400, Peachtree Corners GA 30096.

                                            8.

      Venue is proper in this court and all or some events or omissions giving rise

to Plaintiff’s claims occurred in this judicial district.

                              BACKGROUND FACTS

                                            9.

     Plaintiff repeats and realleges the allegations set forth in the foregoing
Paragraphs.

                                           10.

      Plaintiff Render Godfrey is an African American male who is a business

owner and a resident of the State of Georgia. Mr. Godfrey was also an account holder

of Defendant’s Bank.



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                                         11.

        Defendant Wells Fargo, NA., is a Georgia banking institution and a member

of the FDIC, which promises equitable treatment of customers.

                                         12.

        On and after January 19, 2022, through January 28, 2022, at the height of a

novel and global pandemic—Plaintiff Render Godfrey went to Wells Fargo Bank,

NA., to check on why he was being denied access to his account ending in number

3845.

                                         13.

        Specifically, Plaintiff Render Godfrey had checked his account and found the

account was valid, and there was money in the account.

                                         14.

        Plaintiff Godfrey a large African American male in stature was told to come

back to the bank at another date to reopen his account.

                                         15.




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      During Plaintiff Godfrey’s interactions at the bank with a Caucasian Wells

Fargo Bank, NA’s employee, told Mr. Godfrey his account was overdrawn and there

had been no actions on the account for a while, which is the reason it was closed

and could not be reopened. Mr. Godfrey told the bank’s employee that was incorrect

because he had placed money in the account days ago. Mr. Godfrey felt that he was

being treated differently because of his race and his appearance began recording the

bank’s employees and her interactions with him.

                                        16.

      Mr. Godfrey felt that because of the color of his skin the Wells Fargo Bank,

NA.’s employees transferred Mr. Godfrey to the bank’s manager. Mr. Godfrey felt

that the employees were marking him and making fun of him while he was in the

bank. Mr. Godfrey decided to document the incident by recording the bank’s

employees. Mr. Godfrey was abruptly transferred to a manager. The manager shifted

the conversation from Mr. Godfrey’s concern about his account to telling Mr.

Godfrey that he could not record the conversation. Mr. Godfrey stated that there are

no signs or warnings to not record his encounter with them. Mr. Godfrey stated that

he wanted an explanation why he could not use his account and why he needed to

reopen his account as if he was a new customer. Mr. Godfrey was told to make




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another appointment for another day because he didn’t have all of his paperwork to

open an account. The next day, Mr. Godfrey returned to Wells Fargo Bank, NA. and

was told he had to open a new account and that he was not allowed to reopen his

previous account. At the next appointment, Mr. Godfrey met with a black female

employee who told him he was not getting a new account or reopening his old

account.

                                           17.

      Plaintiff Godfrey also contends that he received a call from Wells Fargo’s

security guard who told him that he would not be allowed back to the bank. Mr.

Godfrey questioned the security guard on what authority gives him the right to ban

Mr. Godfrey from the bank. Thereafter, Wells Fargo’s security guard changed his

tone and told him that if the Plaintiff came back with a video camera, they would

call the police to escort the Plaintiff out of the bank.

        On or about January 28, 2023, Wells Fargo Bank returned Mr. Godfrey’s

balance from account number 3845. Mr. Godfrey contends that the below letter was

not consistent with what he was told about his account having a negative balance

but returned to him a balance.




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                                         18.

                                     COUNT I

          Racial Discrimination in Violation of 42 U.S.C. § 1981 and
           O.C.G.A. §7-6-1 Discriminates in Extending Credit or
                          Making Loan Prohibited

      Plaintiff repeats and realleges the allegations set forth in the foregoing

Paragraphs. Title 42, Chapter 21 of the U.S. Code prohibits discrimination against

persons based on age, disability, gender, race, national origin, and religion (among

other things) in a number of settings, including education employment, public

accommodations, and federal services. Codified in Chapter 21 are several federal

acts that protect Plaintiff, including the Civil Rights Act of 1866 and Civil Rights

Act of 1964.

                                         19.

      Wells Fargo Bank NA’s discrimination against Plaintiff as described above is

in violation of Plaintiff’s rights afforded to her under Federal and State Laws the

Civil Rights Act of 1866, 42 U.S.C. § 1981, as amended by the Civil Rights Act of

1991 and O.C.G.A. § 7-6-1.




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                                           20.

       Plaintiff is a member of a protected class, in that he is African American and

cannot be discriminated against on the basis of his race.

                                           21.

      By the conduct described above, Defendant intentionally deprived Plaintiff

of the same rights as are enjoyed by white citizens to the creation, performance,

enjoyment, and all benefits and privileges of their banking relationship with

Defendant, in violation of 42 U.S.C. § 1981 and O.C.G.A. § 7-6-1 which states “no

bank, lending company, financial institution, retail installment seller or person

extending credit may discriminate or provide requirements which discriminate in

the extending or credit or the making of loans solely on the basis of sec, race,

religion, national origin, or marital status.

                                           22.

      The actions of Defendant, by its agents, employees, and representatives, were

willful, intentional, in deliberate disregard of, and with reckless indifference to the

rights and sensibilities of Plaintiff.

                                           23.




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      As a direct and proximate result of those actions, the terms, conditions, and

privileges of Plaintiff were adversely affected, Plaintiff was unlawfully harassed

disrespected solely because of the color of her skin.

                                         24.

      As a direct and proximate result of Defendant’s wrongful acts, Plaintiff

sustained injuries and damages including, but not limited to, loss of earnings and

earning capacity, loss of career opportunities, outrage and humiliation, mental

anguish, anxiety about their future, physical and emotional distress, loss of

professional reputation, and loss of the ordinary pleasures of everyday life.

                                         25.

      Plaintiff Render Godfrey an existing customer who was racially discriminated

against by Defendant Wells Fargo Bank, NA., and unfairly disregarded as compared

to Defendant’s white customers, who receive high-quality customer service, fair

consumer transactions, and are treated with basic dignity and respect. Specifically,

the employees at Wells Fargo Bank, NA., engaged in racial profiling of African

Americans with accounts that have insufficient funds and did not engage in the same

conduct with customers who were not African American. Upon information and

belief, this branch had Wells Fargo’s security guard engaged in conduct to scare off




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Mr. Godfrey. Mr. Godfrey was denied the same type of conduct for customers

attempting to reopen their account who were Caucasians.

                                         26.

      The blatantly racist practices of Defendant Wells Fargo Bank, NA., wherein

Defendant’s agents, employees, and/or representatives deliberately denied Plaintiff

a fair and race-neutral commercial banking transaction—solely on the basis of race.

                                         27.

      The open atmosphere of hostility towards people of color established by

Defendant created an environment permeated with discriminatory intimidation,

ridicule, and insult that was so severe and pervasive that it altered the conditions of

Plaintiff’s personal life.

                                         28.

      Defendant made no secret of its hostility and distain towards Plaintiff, based

solely on his race, causing Plaintiff mental anguish and pain, humiliation,

embarrassment, outrage, and significant interference with her ability to enjoy the

same quality of life and equal treatment under the law as her white counterparts.

                                         29.

      The core issues involved in Plaintiff’s case are the following:




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         a. Whether Defendant’s conduct constitutes a violation of 42 U.S.C. §
            1981;

         b. Whether Defendant’s conduct constitutes a violation of O.C.G.A. § 7-
            6-1.

         c. Whether Defendant’s conduct constitutes a violation of 15 U.S.C. §
            1691;

         d. Whether Defendant’s conduct constitutes a violation of the equal
            protection clause of the U.S. Constitution;

         e. Whether Plaintiff is entitled to compensatory and/or actual damages,
            punitive damages, attorneys’ fees and costs of suit; and

         f. Whether the Plaintiff is entitled to any such further relief as the Court
            deems appropriate.

                                        30.

      Damages will be adduced at trial through expert testimony and other

competent evidence.

                                        31.

      On information and belief, based upon all available information, Plaintiff

alleges that the total amount in controversy exclusive of fees, costs, and interest,

exceeds $1 million.




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                                    COUNT II
                           Violations of 15 U.S.C. § 1691

                                           32.

      Plaintiff repeats and realleges the allegations set forth in the foregoing

Paragraphs.

                                           33.

      The Equal Credit Opportunity Act, 15 U.S.C. §§ 1691-1691f (“ECOA”)

prohibits any creditor from discriminating against an applicant—with respect to

any aspect of a credit transaction—on the basis of certain characteristics, including

race, color, religion, national origin, sex or marital status, or age.

                                           34.

      In denying Plaintiff the ability to reopen his account without explanation—or

in failing to provide Plaintiff with any reason or notice of the denial with an accurate

statement of the reasons for the denial, Defendant has violated the ECOA, 15 U.S.C.

§ 1691.

                                           35.




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      Defendant’s unlawful racial discrimination against Plaintiff, as described

above, is in violation of Plaintiff’s rights afforded to her under the Equal Credit

Opportunity Act.

                                          36.

      Plaintiff, an African American had the finances and documentation needed to

open his account, the Bank rejected him even though he was qualified to open an

account. Plaintiff contend that he is African American and is protected to not be

discriminated by the Bank. The Bank’s actions were discriminating toward Mr.

Godfrey because of his race. Mr. Godfrey also states that the Bank had a contractual

duty to not close his existing account. This action affected his ability to do business.

                                          37.

      By the conduct described above, Defendant intentionally deprived Plaintiff of

the same rights as those enjoyed by white citizens to the creation, performance,

enjoyment, and all benefits and privileges of their banking relationship with

Defendant, in violation of 15 U.S.C. §§ 1691-1691f.




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                                          38.

      The actions of Defendant, by its agents, employees, and representatives, were

willful, intentional, in deliberate disregard of, and with reckless indifference to the

rights and sensibilities of Plaintiff.

                                          39.

      As a direct and proximate result of those actions, the terms, conditions, and

privileges of Plaintiff was adversely affected, Plaintiff was unlawfully harassed

disrespected solely because of the color of his skin.

                                          40.

      As a direct and proximate result of Defendant’s wrongful acts, Plaintiff

sustained injuries and damages including, but not limited to, loss of earnings and

earning capacity, loss of career opportunities, outrage and humiliation, mental

anguish, anxiety about their future, physical and emotional distress, loss of

professional reputation, and loss of the ordinary pleasures of everyday life.

                                         COUNT III


      Negligent, Reckless and/or Intentional Infliction of Emotional Distress




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                                           41.

      Plaintiff repeats, realleges, and incorporates all other paragraphs of this

complaint as if fully set forth herein.

                                           42.

      Defendant recklessly, negligently and/or intentionally inflicted emotional

distress upon Mr. Godfrey when engaging in this conduct, and/or knew that there

was a high probability that such conduct would result in such distress.

                                           43.

      Defendant’s negligent, reckless and/or intentional conduct caused Ms. Brown

to suffer severe emotional distress that no reasonable person could be expected to

endure.

                                           44.

      Mr. Godfrey is suing Defendant for all the reasons previously set forth herein,

which are causally related to her injuries, and seeks money damages in an amount

to be set by the jury.

                              RELIEF REQUESTED




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                                         45.

        For the foregoing reasons, Plaintiff demands judgment and legal relief

against Defendant as follows:

         a. Compensatory, economic, and noneconomic damages in whatever
         amount Plaintiff is found to be entitled;
         b. Exemplary damages, based on oppression and malice, according to
            Defendant’s net worth;
         c. An award of interest, costs, attorney’s fees, and expert witness fees;
            and;
         d. For such other and further relief as the court deems just and proper.

                                JURY DEMAND

                                         46.

      Plaintiff hereby demands a trial by jury of all the issues in this cause.

       This 18th day of January, 2024.

                                       Respectfully Submitted,

                                       /s/ GRAYLIN C. WARD_____
                                       Graylin C. Ward
                                       GRAYLIN C. WARD
                                       COUNSEL FOR PLAINTIFF
                                       Georgia Bar No. 736855


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